                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI
                                 SOUTHERN DIVISION

 IN THE MATTER            OF THE SEARCH        OF:

 A MOTOROLA     CELLULAR
 TELEPHONE,   MODEL NUMBER
 XT2052DL, IMEI: 351638116135718                      Case No. 21-SW-2156DPR

 CURRENTLY LOCATED AT THE
 JOPLIN, MISSOURI, POLICE
 DEPARTMENT,    303 EAST 3RD
 STREET, JOPLIN, MISSOURI

                                AFFIDAVIT IN SUPPORT OF AN
                             APPLICATION  UNDER RULE 41 FOR A
                              WARRANT TO SEARCH AND SEIZE

        I, Lee Walker, a Task Force Officer (TFO) with the Federal Bureau ofInvestigation              (FBI),

being first duly sworn, hereby depose and state as follows:

                       INTRODUCTION           AND AGENT        BACKGROUND


        1.      I have been employed as a police officer with the City of Springfield,             Missouri,

since November 2004. I am currently a TFO with the FBI, as well as a member of the Southwest

Missouri Cyber Crimes Task Force (SMCCTF)              in Joplin, Missouri.     As a TFO, I have been

assigned to investigate     computer   crimes, including   violations   against children.     I have gained

expertise in the conduct of such investigations    through training in seminars, classes, and everyday

work related to conducting these types of investigations.      I have attended training provided by the

FBI Cyber Crime Division, the FBI's Regional Computer Forensic Laboratory,                  and the Missouri

Internet Crimes Against Children (ICAC) Task Force.           I have written, executed, and assisted in

over lOO search warrants on the state and federal level. As a TFO with the FBI, I am authorized

to investigate violations   of laws of the United States and to execute warrants issued under the

authority of the United States. I have received training in the area of child pornography          and child

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exploitation and have reviewed numerous examples of child pornography                   (as defined in 18 U.S.C.

§ 2256) in all forms of media including computer media.

        2.      As part of this affiant's duties with FBI, this affiant investigates criminal violations

relating to the production,     receipt, possession, and distribution    of child pornography,       in violation

of 18 U.S.C. §§ 2251, 2252, and 2252A, and the production,              distribution,     receipt, or possession

with intent to distribute obscene visual representations       of the sexual abuse of children in violation

of 18 U.S.C. § l466A.

        3.      The statements in this affidavit are based on my personal observations,             training and

experience, investigation     of this matter, and information obtained from other agents and witnesses.

Because this affidavit is being submitted for the limited purpose of securing a search warrant, this

affiant has not included each and every fact known to me concerning this investigation.

                  IDENTIFICATION OF THE DEVICE TO BE EXAMINED

        4.      This affiant has set forth the facts necessary to establish probable cause to believe

that evidence, fruits, and instrumentalities     of violations of 18 U.S.C. §§ 1466A, 2251, 2252, and

2252A, are contained within the following electronic device - a Motorola cellular phone, model

number XT2052DL, IMEI: 351638116135718 (hereinafter,                     also referred to as "the Device"),

which was surrendered to FBI TFO Charles "Chip" Root by the Executive Director of Alpha House

on September 14, 2021. The Device is currently stored at the Joplin, Missouri, Police Department

(JPD), located at 303 East 3rd Street, Joplin, Jasper County, Missouri, also within the Western

District of Missouri.

        5.      This affidavit is in support of an application          for a search warrant for evidence,

fruits, and instrumentalities     of the foregoing criminal violations,       which relate to the knowing

possession,   receipt,   distribution,   and/or production     of child pornography,          and the knowing



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production,   distribution,     receipt,   and/or possessIOn with intent to distribute        obscene    visual

representations     of the sexual abuse of children.     The property to be searched is described in the

following paragraphs       and fully in Attachment     A. This affiant requests the authority to search

and/or examine the seized items, specified           in Attachment    B, as instrumentalities,     fruits, and

evidence of crime.

        6.          The applied-for warrant would authorize the forensic examination          of the device

for the purpose of identifying electronically      stored data particularly   described in Attachment B.

        7.          This affiant has probable cause to believe that evidence of violations of 18 U.S.C.

§§ l466A, 2251, 2252, and 2252A, involving the use of a computer,                  in or affecting interstate

commerce, to produce, distribute, receive, and/or to possess with intent to distribute obscene visual

representations      of the sexual abuse of children       and/or to produce,      receive,   possess,   and/or

distribute child pornography,        are located in and within the aforementioned         property described

below. Thus, as outlined below, and based on my training and experience, there is probable cause

to believe that evidence, fruits, and/or instrumentalities      of the aforementioned      crimes are located

in this property.

                                             PROBABLE CAUSE

       8.           On September      8, 2021, Alpha House Executive          Director   (ED) Sue Marshall

requested FBI assistance in conducting an investigation         into a resident of Alpha House, identified

as Brandon DEAVERS, and his involvement in possessing suspected images of child pornography.

According to ED Marshall, on September 4,2021, Alpha House Watch Officer (WO) Raya Doran,

discovered DEAVERS            sitting in a common area of the facility.   DEAVERS        appeared to be using

a cellular telephone.      WO Doran was aware that DEAVERS             was prohibited     from possessing     an

internet capable cellular telephone because DEAVERS was a sex offender. WO Doran confronted



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DEAVERS and verified that DEAVERS was using an internet capable cellular telephone. WO

Doran seized the device. While speaking with Doran, DEAVERS admitted that "cartoon" images

of child pornography would be located on the device. DEAVERS also admitted to paying an

unidentified co-worker to purchase a new cellular telephone for his use. The device seized from

DEAVERS was identified as a Motorola cellular phone, model number XT2052DL, IMEI:

351638116135718. WO Doran turned the Device over to ED Marshall for storage.

       18.     After receiving the Device from WO Doran, ED Marshall viewed some of the

contents on the device. She observed a cartoon image of a naked adult male, with his penis exposed

to a child on DEAVERS's device. The image included the caption, "I thought Mom would never

leave." ED Marshall referred the matter to the Federal Bureau of Prisons (BOP), as DEAVERS

was in their custody, but housed at Alpha House at the time of the incident. BOP requested the

matter be referred to the FBI for investigation.

       19.     DEAVERS was in the custody of BOP because he had been previously found guilty

of receipt and distribution of child pornography.      Specifically, on or about May 15, 2017,

DEAVERS pled guilty to one count of receipt and distribution of child pornography in the United

States Court for the Western District of Missouri, in Case No. 17-04006-01-CR-C-SRB.           On

February 22, 2018, DEAVERS was sentenced to 72 months in BOP followed by a 20-year term

of supervised release.

       20.     Alpha House is a residential reentry center for federal offenders, who have been

released from federal prison. It is located at 2300 East Division Street, Springfield, Missouri

65803, located within the Western District of Missouri.

       22.     On September 14, 2021, FBI TFO Root contacted ED Marshall at the facility. ED

Marshall provided the TFO Root with DEAVERS's cellular telephone, and the related Alpha



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House documentation of the incident. ED Marshall identified the unlock pattern to DEAVER's

device as a "Z." The Device was transported to the Joplin Police Department, located at 303 East

3rd Street, Joplin, Missouri for storage, pending the receipt of a search warrant.

       23.     Due to the above information, Ibelieve that the Device contains information related

to the production, distribution, receipt, and possession with intent to distribute obscene visual

representations of the sexual abuse of children and the production, receipt, distribution, and

possession of child pornography and evidence of violations of 18 U.S.C. §§ 1466A, 2251, 2252,

and 2252A.

                                     TECHNICAL TERMS

       24.     Based on my training and experience, I use the following technical terms to convey

the following meanings:

               a.      Computer: The term "computer" as defined in 18 U.S.C. § 1030(e)(1),

       means an electronic, magnetic, optical, electrochemical, or other high speed data

       processing device performing logical, arithmetic, or storage functions, and includes any

       data storage facility or communications facility directly related to or operating in

       conjunction with such device.

               b.      Wireless telephone: A wireless telephone (or mobile telephone, or cellular

       telephone) is a handheld wireless device used for voice and data communication through

       radio signals. These telephones send signals through networks of transmitter/receivers,

       enabling communication with other wireless telephones or traditional "land line"

       telephones. A wireless telephone usually contains a "call log," which records the telephone

       number, date, and time of calls made to and from the phone. In addition to enabling voice

       communications, wireless telephones offer a broad range of capabilities. These capabilities



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include: storing names and phone numbers in electronic "address books;" sending,

receiving, and storing text messages and e-mail; taking, sending, receiving, and storing still

photographs and moving video; storing and playing back audio files; storing dates,

appointments,    and other information on personal         calendars; and accessing and

downloading information from the Internet. Wireless telephones may also include global

positioning system ("GPS") technology for determining the location of the device.

       c.       Digital camera: A digital camera is a camera that records pictures as digital

picture files, rather than by using photographic film. Digital cameras use a variety of fixed

and removable storage media to store their recorded images.          Images can usually be

retrieved by connecting the camera to a computer or by connecting the removable storage

medium to a separate reader. Removable storage media include various types of flash

memory cards or miniature hard drives. Most digital cameras also include a screen for

viewing the stored images. This storage media can contain any digital data, including data

unrelated to photographs or videos.

       d.       Portable media player: A portable media player (or "MP3 Player" or iPod)

is a handheld digital storage device designed primarily to store and play audio, video, or

photographic files. However, a portable media player can also store other digital data.

Some portable media players can use removable storage media. Removable storage media

include various types of flash memory cards or miniature hard drives. This removable

storage media can also store any digital data. Depending on the model, a portable media

player may have the ability to store very large amounts of electronic data and may offer

additional features such as a calendar, contact list, clock, or games.




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       e.      GPS: A GPS navigation device uses the Global Positioning System to

display its current location. It often contains records the locations where it has been. Some

GPS navigation devices can give a user driving or walking directions to another location.

These devices can contain records of the addresses or locations involved in such

navigation. The Global Positioning System (generally abbreviated "GPS") consists of 24

NAVSTAR satellites orbiting the Earth. Each satellite contains an extremely accurate

clock. Each satellite repeatedly transmits by radio a mathematical representation of the

current time, combined with a special sequence of numbers. These signals are sent by

radio, using specifications that are publicly available. A GPS antenna on Earth can receive

those signals. When a GPS antenna receives signals from at least four satellites, a computer

connected to that antenna can mathematically calculate the antenna's latitude, longitude,

and sometimes altitude with a high level of precision.

       f.      PDA: A personal digital assistant, or PDA, is a handheld electronic device

used for storing data (such as names, addresses, appointments. or notes) and utilizing

computer programs. Some PDAs also function as wireless communication devices and are

used to access the Internet and send and receive e-mail. PDAs usually include a memory

card or other removable storage media for storing data and a keyboard and/or touch screen

for entering data. Removable storage media include various types of flash memory cards

or miniature hard drives. This removable storage media can store any digital data. Most

PDAs run computer software, giving them many of the same capabilities as personal

computers.    For example, PDA users can work with word-processing documents,

spreadsheets, and presentations.    PDAs may also include global positioning system

("GPS") technology for determining the location of the device.



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        g.      Tablet: A tablet is a mobile computer, typically larger than a phone yet

smaller than a notebook, that is primarily operated by touching the screen. Tablets function

as wireless communication devices and can be used to access the Internet through cellular

networks, 802.11 "wi-fi" networks, or otherwise. Tablets typically contain programs called

apps, which, like programs on a personal computer, perform different functions and save

data associated with those functions. Apps can, for example, permit accessing the Web,

sending and receiving e-mail, and participating in Internet social networks.

       h.       Pager: A pager is a handheld wireless electronic device used to contact an

individual through an alert, or a numeric or text message sent over a telecommunications

network. Some pagers enable the user to send, as well as receive, text messages.

        1.      IP Address: An Internet Protocol address (or simply "IP address") is a

unique numeric address used by computers on the Internet. An IP address is a series of

four numbers, each in the range 0-255, separated by periods (e.g., 121.56.97.178). Every

computer attached to the Internet must be assigned an IP address so that Internet traffic

sent from and directed to that computer may be directed properly from its source to its

destination.   Most Internet service providers control a range of IP addresses.       Some

computers have static-that     is, long-term-IP   addresses, while other computers have

dynamic-that    is, frequently changed-IP   addresses.

       J.       Internet: The Internet is a global network of computers and other electronic

devices that communicate with each other. Due to the structure of the Internet, connections

between devices on the Internet often cross state and international borders, even when the

devices communicating with each other are in the same state.




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          18.    Based on my training, expenence, and research, I know that the Device has

capabilities that allow it to serve as a wireless telephone, computer, digital camera, portable media

player, GPS, and PDA. In my training and experience, examining data stored on devices of this

type can uncover, among other things, evidence that reveals or suggests who possessed or used the

device.

                      ELECTRONIC       STORAGE AND FORENSIC ANALYSIS

          25.    Based on my knowledge, training, and experience, I know that electronic devices

can store information for long periods of time. Similarly, things that have been viewed via the

Internet are typically stored for some period of time on the device. This information can sometimes

be recovered with forensics tools.

          26.    There is probable cause to believe that things that were once stored on the Device

may still be stored there, for at least the following reasons:

                 a.      Based on my knowledge, training, and experience, I know that computer

          files or remnants of such files can be recovered months or even years after they have been

          downloaded onto a storage medium, deleted, or viewed via the Internet. Electronic files

          downloaded to a storage medium can be stored for years at little or no cost. Even when

          files have been deleted, they can be recovered months or years later using forensic tools.

          This is so because when a person "deletes" a file on a computer, the data contained in the

          file does not actually disappear; rather, that data remains on the storage medium until it is

          overwritten by new data.

                 b.      Therefore, deleted files, or remnants of deleted files, may reside in free

          space or slack space-that    is, in space on the storage medium that is not currently being

          used by an active file-for   long periods of time before they are overwritten. In addition,



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       a computer's operating system may also keep a record of deleted data in a "swap" or

       "recovery" file.

               c.     Wholly apart from user-generated files, computer storage media-in

       particular, computers' internal hard drives-contain   electronic evidence of how a

       computer has been used, what it has been used for, and who has used it. To give a few

       examples, this forensic evidence can take the form of operating system configurations,

       artifacts from operating system or application operation, file system data structures, and

       virtual memory "swap" or paging files. Computer users typically do not erase or delete

       this evidence, because special software is typically required for that task. However, it is

       technically possible to delete this information.

               d.     Similarly, files that have been viewed via the Internet are sometimes

       automatically downloaded into a temporary Internet directory or "cache."

       27.     Forensic evidence. As further described in Attachment B, this application seeks

permission to locate not only electronically stored information that might serve as direct evidence

of the crimes described on the warrant, but also forensic evidence that establishes how the Device

was used, the purpose of its use, who used it, and when. There is probable cause to believe that

this forensic electronic evidence might be on the Device because:

               a.     Data on the storage medium can provide evidence of a file that was once on

       the storage medium but has since been deleted or edited, or of a deleted portion of a file

       (such as a paragraph that has been deleted from a word processing file).

               b.     Forensic evidence on a device can also indicate who has used or controlled

       the device. This "user attribution" evidence is analogous to the search for "indicia of

       occupancy" while executing a search warrant at a residence.



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               c.      A person with appropriate familiarity with how an electronic device works

       may, after examining this forensic evidence in its proper context, be able to draw

       conclusions about how electronic devices were used, the purpose of their use, who used

       them, and when.

               d.      The process of identifying the exact electronically stored information on a

       storage medium that are necessary to draw an accurate conclusion is a dynamic process.

       Electronic evidence is not always data that can be merely reviewed by a review team and

       passed along to investigators. Whether data stored on a computer is evidence may depend

       on other information stored on the computer and the application of knowledge about how

       a computer behaves.     Therefore, contextual information necessary to understand other

       evidence also falls within the scope of the warrant.

               e.      Further, in finding evidence of how a device was used, the purpose of its

       use, who used it, and when, sometimes it is necessary to establish that a particular thing is

       not present on a storage medium.

       28.     Nature of examination.      Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrant I am applying for would permit the examination of the device consistent

with the warrant. The examination may require authorities to employ techniques, including but

not limited to computer-assisted scans of the entire medium, that might expose many parts of the

device to human inspection in order to determine whether it is evidence described by the warrant.

       29.     Manner of execution. Because this warrant seeks only permission to examine a

device already in law enforcement's possession, the execution of this warrant does not involve the

physical intrusion onto a premises. Consequently, I submit there is reasonable cause for the Court

to authorize execution of the warrant at any time in the day or night.



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                                        CONCLUSION

       30.    Based on the above facts, this affiant believes probable cause exists for the issuance

of a warrant to search the Device described more fully in Attachment A for (1) property that

constitutes evidence of the commission ofa criminal offense; (2) contraband, the fruits ofa crime,

or things otherwise criminally possessed; and/or (3) property designated or intended for use or

which is or has been used as the means of committing a criminal offense, namely possible

violations of 18 U.S.C. §§ l466A, 2251, 2252, and 2252A, including, but not limited to, the items

listed in Attachment B.


Further Affiant Sayeth Naught.




                                     Lee Walker
                                     Task Force Officer
                                     Federal Bureau of Investigation

Subscribed and sworn to before me via telephone on the        4th      day of November 2021.




                                     HONORABLE DAVID     P. RUSH
                                     Chief United States Magistrate Judge
                                     Western District of Missouri




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